                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF IOW A
                                     CEDAR RAPIDS DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )         NO. CR 10-122
                Plaintiff,                        )
                                                  )         COUNT 1:
       vs.                                        )         18 U.S.C. § 157
                                                  )         Bankruptcy Fraud
LEE PRUNTY,                                       )
                                                  )
                Defendant.                        )

                                        INFORMATION


The United States Attorney charges:

                                          COUNT 1

       On or about January 13, 2005, in the Northern District of Iowa, defendant LEE

PRUNTY, with the intent to devise a scheme and artifice to defraud, and for the purpose

of executing and concealing a scheme and artifice to defraud, aided and abetted another

in making a false and fraudulent representation concerning and in relation to a

proceeding under Title 11, United States Code. Specifically, in relation to the bankruptcy

case of W alterman Implement, Inc., pending in the United States Bankruptcy Court for

the Northern District of Iowa, Case No. 05-07284, defendant caused another person,

M.R., to send a letter to the bankruptcy trustee falsely claiming M.R. had rented a

combine and left it at defendant’s business, when in truth and in fact, as the defendant

then knew, M.R. had never rented or possessed the combine and did not leave the

combine at defendant’s business.




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This was in violation of Title 18, United States Code, Sections 2 and 157(3).


                                   STEPHANIE M. ROSE
                                   United States Attorney

                                   By: s/ C.J. W ILLIAMS

                                   C.J. W ILLIAMS
                                   Assistant United States Attorney




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